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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

ANDREW CORZO, SIA HENRY, ALEXANDER                   Case No. 1:22-cv-00125
LEO-GUERRA, MICHAEL MAERLANDER,                      Judge Matthew F. Kennelly
BRANDON PIYEVSKY, BENJAMIN SHUMATE,
BRITTANY TATIANA WEAVER, and CAMERON
WILLIAMS, individually and on behalf of all others
similarly situated,
                          Plaintiffs,

      v.

BROWN UNIVERSITY, CALIFORNIA
INSTITUTE OF TECHNOLOGY, UNIVERSITY
OF CHICAGO, THE TRUSTEES OF COLUMBIA
UNIVERSITY IN THE CITY OF NEW YORK,
CORNELL UNIVERSITY, TRUSTEES OF
DARTMOUTH COLLEGE, DUKE UNIVERSITY,
EMORY UNIVERSITY, GEORGETOWN
UNIVERSITY, THE JOHNS HOPKINS
UNIVERSITY, MASSACHUSETTS INSTITUTE
OF TECHNOLOGY, NORTHWESTERN
UNIVERSITY, UNIVERSITY OF NOTRE DAME
DU LAC, THE TRUSTEES OF THE UNIVERSITY
OF PENNSYLVANIA, WILLIAM MARSH RICE
UNIVERSITY, VANDERBILT UNIVERSITY, and
YALE UNIVERSITY,
                      Defendants.



     MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO COMPEL
                  DISCOVERY FROM PLAINTIFFS
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                                        INTRODUCTION

       Plaintiffs are demanding extremely broad discovery from Defendants, seeking decades’

worth of documents from numerous sources, often refusing to compromise, and even expanding

the scope of their initial demands. For their own discovery obligations, however, Plaintiffs have

taken the opposite approach, albeit a similarly absolutist one. That is, they have agreed to produce

absolutely nothing in response to many of Defendants’ requests. They have answered just one of

Defendants’ four interrogatories, and that one only partially. They likewise have declined to

produce documents in response to more than 40% of Defendants’ document requests, and they

have unreasonably narrowed others.

       Plaintiffs have offered no legitimate basis for their refusal to participate meaningfully in

discovery. They elected to file this lawsuit and serve as representatives of the claimed class. And

they have identified no burden they would suffer by providing the requested information, and, in

any event, Defendants have offered to limit the burden, including by proposing search terms. Nor

do Plaintiffs argue the discovery is irrelevant in most cases – and where they do, they are wrong.

       This is a putative class action about undergraduate financial aid. Second Am. Compl., ECF

No. 266-1 (“SAC”) ¶ 11. Plaintiffs allege that Defendants are part of “a price-fixing cartel that is

designed to reduce or eliminate financial aid as a locus of competition.” Id. ¶ 1. The heart of

Plaintiffs’ claim is the Consensus Methodology, “a set of common standards for determining the

family’s ability to pay for college.” Id. ¶ 5. Plaintiffs contend that, as a result of Defendants’

alleged use of the Consensus Methodology, Plaintiffs and their putative class are owed “billions

of dollars” in damages. Id. ¶ 7.

       Given these allegations, Defendants targeted their discovery requests at Plaintiffs’ financial

aid applications and related materials, as well as materials relevant to class certification, injury,




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and damages. Defendants also requested discovery about Plaintiffs’ alleged market definition.

Yet Plaintiffs refuse to provide basic information about these topics, such as:

       Financial aid offers they received;

       Any alternative methodology that Plaintiffs claim Defendants should have used instead of
        the Consensus Methodology, as well as methodologies used by other schools;

       Plaintiffs’ college applications, including why they selected the colleges to which they
        applied and how they chose from the schools that accepted them, which are relevant to
        Plaintiffs’ hyper-narrow alleged market; and

       The named Plaintiffs’ adequacy to serve as class representatives, including whether they
        incurred any out-of-pocket expenses to pay for college.

        Plaintiffs’ resistance to providing the requested information is particularly indefensible

given their demand for billions in damages. While Defendants are confident they will prevail on

the merits and that they owe no damages at all, Defendants are entitled to the discovery necessary

to expose the manifest failures in Plaintiffs’ case.

        Defendants describe below the many discovery requests that Plaintiffs have rejected.

Defendants respectfully ask the Court to order Plaintiffs to produce the requested discovery.

                                            ARGUMENT

        Federal Rule of Civil Procedure 26(b)(1) allows parties to obtain discovery “regarding any

nonprivileged matter that is relevant to a party’s claim or defense and proportional to the needs of

the case.” Full Circle Villagebrook GP, LLC v. Protech 2004-D, LLC, 2022 U.S. Dist. LEXIS

114942, at *8-9 (N.D. Ill. June 29, 2022). “The burden in a motion to compel rests with the party

seeking discovery to explain why the opposing party’s responses are inadequate.” Id. at *9. To

determine if discovery is “proportional to the needs of the case,” courts consider “the importance

of the issues at stake in the action, the amount in controversy, the parties’ relative access to relevant

information, the parties’ resources, the importance of the discovery in resolving the issues, and

whether the burden or expense of the proposed discovery outweighs its likely benefit.” Sage


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Prods. v. Chemrite Copac, 2021 U.S. Dist. LEXIS 219454, at *6 (N.D. Ill. Nov. 12, 2021).

      I.        INTERROGATORIES

           Defendants served Plaintiffs with four interrogatories on September 19, 2022. See Ex. 1.

Plaintiffs have refused to answer three of them, and their answer to the remaining interrogatory is

incomplete. Even getting a partial response to that one interrogatory has been far more difficult

than necessary, with Plaintiffs supplementing their responses as recently as a week ago.

           A.     Interrogatory No. 1 (Applications for Admission and Financial Aid)

           Interrogatory No. 1 asks Plaintiffs for straightforward (but critical) details about their

applications for admission and financial aid, such as the institutions to which they applied, whether

they were awarded financial aid, the amount(s) awarded, and whether they appealed any award.

See Ex. 2 (chart listing all discovery requests that are the subject of Defendants’ Motion).

           Plaintiffs do not deny that the requested information is relevant. Indeed, it relates to key

issues such as competition among universities (e.g., how the financial aid packages offered by a

Defendant compare to those offered by other Defendants and non-Defendants), whether Plaintiffs

have adequately alleged a relevant market (e.g., which schools did Plaintiffs consider substitutes),

and injury/damages (e.g., would Plaintiffs have received more financial aid in the “but-for” world).

           Each Plaintiff nevertheless has refused to answer the interrogatory with respect to

Defendant universities, claiming Defendants already possess the information. It is not clear that

Defendants possess all of the information that Plaintiffs suppose.1 More importantly, even if

Plaintiffs were correct, that is not a legitimate ground to refuse to respond, especially in light of

the relatively small burden Plaintiffs would bear in searching for relevant information. See, e.g.,

ED&F Cap. Mkts. Ltd. v. JVMC Holdings Corp., 2020 U.S. Dist. LEXIS 112706, at *17-18 (N.D.


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    A Defendant also could be dismissed from the case, leaving other Defendants with no access to its data.


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Ill. June 25, 2020) (“Even if that is true [that defendants possess the information], plaintiffs cannot

decline to respond to these [interrogatories] on the ground that defendants might be able to ferret

out what they are asking for by some other means.”).2

         B.     Interrogatory No. 2 (Sources of Financial Aid)

         Defendants’ second interrogatory asks each Plaintiff to identify the individuals and entities

that funded the Plaintiff’s undergraduate education. As with Interrogatory No. 1, Plaintiffs refuse

to respond and assert that Defendants have such information in their own files. Again, Plaintiffs

must answer the interrogatory regardless of whether Defendants could “ferret out” the answers

themselves. See id. at *17-18.

         Plaintiffs also object to providing discovery about third parties who paid their college costs,

such as a parent or a community organization that gave the Plaintiff a scholarship (among many

other examples). Plaintiffs argue that such discovery is irrelevant, because they are the sole “direct

purchasers” and therefore entitled to the full alleged overcharge.

         As an initial matter, Plaintiffs refuse to provide the very discovery needed to establish if

they are, in fact, direct purchasers. Plaintiffs also ignore their own complaint, which centers on

“standards for determining the family’s ability to pay for college.” SAC ¶ 5 (emphasis added).

The reality is that parents often pay tuition directly to a university, and, as such, there is no

intermediary – the parent is a direct purchaser. See Apple Inc. v. Pepper, 139 S. Ct. 1514, 1521

(2019) (holding plaintiffs who paid defendants with no intermediary were direct purchasers).

         At minimum, Plaintiffs’ assertion that students alone are direct purchasers is conclusory



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  See also McCurry v. Kenco Logistic Servs., LLC, 2017 U.S. Dist. LEXIS 227064, at *8-9 (C.D. Ill. Nov.
8, 2017) (requiring plaintiff to answer interrogatory and rejecting argument that defendant had access to
plaintiff’s records); Henderson v. Wells Fargo Bank, N.A., 2017 U.S. Dist. LEXIS 24083, at *10 (D. Conn.
Feb. 21, 2017) (“[T]he Federal Rules do not afford a party the option of refusing to produce discovery on
the basis that she believes that the requesting party is already in possession of the requested discovery.”).


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and premature, particularly when their complaint centers on a financial aid system based on

“Expected Family Contribution.” See What is my Expected Family Contribution (EFC)?, FED.

STUDENT AID, https://studentaid.gov/help-center/answers/article/what-is-efc (emphasis added);

see SAC ¶¶ 4-5. Defendants are entitled to discovery to fairly evaluate Plaintiffs’ claim that they

are the sole direct purchasers.

       Interrogatory 2 is also relevant regardless of the answer to the direct purchaser question:

       First, Plaintiffs argue that, “but for” Defendants’ alleged wrongdoing, Defendants would

have used an alternative methodology to calculate financial aid awards that would have yielded

more financial aid for Plaintiffs. Proving that allegation requires Plaintiffs to identify their “but-

for” methodology and show that it would have resulted in Plaintiffs receiving higher aid. To assess

whatever methodology Plaintiffs put forth, Defendants need to know each Plaintiff’s third-party

sources of aid, because federal law requires universities to consider such sources when determining

how much aid to award. See, e.g., 34 CFR § 673.5(a)-(c) (prohibiting universities from awarding

certain forms of aid that “exceed the student’s financial need” and stating institutions “shall take

into account” the student’s “estimated financial assistance,” which includes third-party sources

such as various loans, scholarships, and more).

       Second, third-party financial aid is relevant to a Plaintiff’s alleged injury, Article III

standing, and adequacy as a class representative. Indeed, a third party may have paid the entire

cost of a Plaintiff’s attendance, in which case the Plaintiff would be uninjured. See, e.g., Precision

Assocs. v. Panalpina World Transp. Ltd., 2011 U.S. Dist. LEXIS 51330, at *38-43 (E.D.N.Y. Jan.

4, 2011) (recommending dismissal of antitrust claims for lack of standing because plaintiffs “fail

to allege that they paid the surcharges”), report & recommendation adopted, 2012 U.S. Dist.

LEXIS 113829, at *8 (E.D.N.Y. Aug. 13, 2012); see also In re EpiPen Mktg., Sales Pracs. &




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Antitrust Litig., 2022 U.S. Dist. LEXIS 14480, at *36 (D. Kan. Jan. 26, 2022) (holding evidence

of plaintiffs’ insurance payments could establish class members suffered no injury and lacked

standing); Oxenberg v. Cochran, 518 F. Supp. 3d 831, 836-37 (E.D. Pa. 2021) (holding plaintiffs

suffered no economic injury and thus had no standing to challenge denials of Medicare claims,

because non-party “was financially responsible for the denied coverage”).

         Third, Plaintiffs were required to inform institutions about other sources of financial aid.

Defendants should be able to test the accuracy of Plaintiffs’ disclosures.3

         Fourth, the discovery is relevant to Defendants’ affirmative defense that Plaintiffs failed to

mitigate damages. See, e.g., Fishman v. Estate of Wirtz, 807 F.2d 520, 556-57 (7th Cir. 1986)

(“[T]he tort rules regarding mitigation of damages can have their place in the law of antitrust.”).

Plaintiffs could have mitigated their alleged damages by obtaining financial aid from other sources.

Although Plaintiffs contend that a mitigation defense is not available here, the only authorities they

have identified are cases alleging horizontal price-fixing where the conduct is per se unlawful.

This is not such a case, as the Third Circuit made clear in a decision directly addressing claims of

collusion relating to university financial aid. See U.S. v. Brown Univ., 5 F.3d 658, 661 (3d Cir.

1993) (holding per se rule does not apply and court must analyze claim under rule of reason).

Defendants should not be precluded from discovery relevant to this defense at this stage.

         C.     Interrogatory No. 3 (Relevant Market)

         Plaintiffs devote over twenty paragraphs of their complaint to “The Relevant Market.”

SAC ¶¶ 243-63. They posit a market they call “the Market for Elite, Private Universities,”

consisting of “private national universities with an average ranking of 25 or higher in the U.S.


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  Plaintiffs assert that such testing is a “fishing expedition” because Defendants have no evidence that any
Plaintiff provided inaccurate information in her financial aid application. But it would be nearly impossible
for Defendants to obtain such evidence without the requested discovery, and a key part of discovery is
permitting Defendants to get the information needed to assess Plaintiffs’ adequacy as class representatives.


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News & World Report rankings from 2003 through 2021.” Id. ¶ 244.

            Defendants are entitled to test Plaintiffs’ market allegations, so Interrogatory 3 asks

Plaintiffs to identify the universities that make up their claimed market. Plaintiffs’ complaint

shows they already have that information, because it alleges (for several years) “the percentage of

undergraduate slots that the participants in the conspiracy have controlled within this market.” See

id. ¶ 255. In addition to being relevant to a central issue in the case, the requested discovery would

help Defendants target additional discovery and also tailor their own expert work. Plaintiffs must

provide the requested information now with the facts currently in their possession. See King v.

E.F. Hutton & Co., 117 F.R.D. 2, 5-6 (D.D.C. 1987) (compelling a responding party to answer an

interrogatory with “such information as they then possessed” before consulting an expert); Sony

Corp. v. Vizio, Inc., , 2009 U.S. Dist. LEXIS 136146, at *5 (C.D. Cal. Oct. 23, 2009) (overruling

objection that requests prematurely seek expert discovery and holding “parties must respond fully

and completely to all discovery requests to the best of their knowledge, based on the information

they have”). If Plaintiffs’ claimed market changes, they can amend their discovery responses.

      II.      REQUESTS FOR PRODUCTION

            Defendants served Plaintiffs with twenty-nine requests for production.       See Ex. 3.

Plaintiffs refuse to produce any documents for twelve of the requests.4             They also have

unreasonably narrowed what they will produce in response to numerous others. Because Plaintiffs

cannot reasonably dispute the relevance of the requested materials and have not articulated any

significant burden, they should be ordered to produce the documents described below.




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 The parties have reached agreement concerning some requests, and Defendants have declined to move to
compel on others, choosing to focus on the most time-sensitive discovery (while reserving all rights).


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       A.      Request No. 1 (Reasons Plaintiff Applied to an Institution); Request No. 7
               (College Comparisons and Rankings); and Request No. 23 (Market Definition)

       Requests 1, 7, and 23 seek documents relevant to a key element of Plaintiffs’ claim: their

alleged “relevant market.” See SAC ¶¶ 243-63. “A ‘relevant market’ under the Sherman Act is

comprised of the ‘commodities reasonably interchangeable by consumers for the same purposes.’”

Sharif Pharmacy, Inc. v. Prime Therapeutics, LLC, 950 F.3d 911, 916-17 (7th Cir. 2020).

       To rebut Plaintiffs’ claimed “market,” Defendants have requested documents about the

reasons Plaintiffs applied to the institutions they did and how they decided which school to attend.

The schools Plaintiffs considered and where they chose to apply (and not apply) are relevant to

show how consumers view different schools and whether the schools are reasonably

interchangeable. Defendants already know that some Plaintiffs applied to public universities and

liberal arts colleges, which Plaintiffs allege are outside the relevant market. See SAC ¶¶ 245, 250.

For instance, one Plaintiff applied to the University of Nebraska – Lincoln, Wesleyan College, and

Vassar College. Another applied to Ohio State University. Some Plaintiffs also applied to private

universities that appear to be outside of their claimed market, such as Washington University and

the University of Southern California. To assess Plaintiffs’ alleged market definition, Defendants

must understand the basis for that definition, and they are entitled to understand how the definition

compares with Plaintiffs’ own decisions.

       Request 7 seeks documents discussing how one university compares to another, including

documents about rankings published by U.S. News & World Report (“USN&WR”) and others.

There are numerous ways to rank colleges, many of which differ substantially from the USN&WR

rankings on which Plaintiffs base their market definition. If a Plaintiff used a different ranking to

decide where to apply to college, for example, that would undermine Plaintiffs’ reliance on

USN&WR. Though Plaintiffs claim this request seeks expert discovery, their own requests for



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production seek documents about college rankings. See, e.g., Pls.’ First Set of Requests for

Production of Documents to All Defs., Request No. 72.

       Plaintiffs have agreed to produce some documents responsive to Requests 1 and 7, but only

documents “authored by the Plaintiff.” And they appear to carve out documents about college

rankings unless they also concern a Plaintiff’s reasons for applying to college. Their proposal

would exclude relevant documents such as (1) an email from a friend advising the Plaintiff to apply

to a Defendant institution and a liberal arts college; (2) an email from a college counselor following

up on a meeting about a Plaintiff’s college application choices; (3) a brochure on the best

engineering programs; and (4) a document that questions the value of the USN&WR rankings.

       Plaintiffs argue that documents are responsive to Requests 1 and 7 only if the Plaintiff

considered them in deciding where to apply to college. But such documents are relevant on their

own (showing, for instance, that some students choose to attend a university based on a particular

course of study). Moreover, that the Plaintiff did not author a document in no way precludes the

possibility that the Plaintiff considered the document. Finally, discoverability should not hinge

upon whether a Plaintiff recalls – years later – whether she considered a document.

       Plaintiffs also have objected to discovery about market definition on the ground that they

have alleged a per se violation of the antitrust laws. The law, however, does not support them.

See Brown Univ., 5 F.3d at 661. In any event, this Court has not resolved the issue, and Plaintiffs

continue to allege a relevant market in their Second Amended Complaint. SAC ¶¶ 244-63.

       Request 23 asks for documents concerning the market definition alleged in the complaint.

Plaintiffs object that Defendants are seeking premature expert discovery. But Defendants do not

seek any expert’s opinion, just documents from Plaintiffs’ own files bearing on the relevant market

– quintessential fact discovery.




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       B.      Request No. 2 (Applications for Admission to Defendant Universities)

       Plaintiffs have agreed to produce only some of the documents responsive to this request,

namely “applications by [Plaintiffs] to non-Defendant institutions.” But they are withholding

applications to Defendant institutions, and they also have excluded documents about Plaintiffs’

applications (as opposed to just the applications themselves). Any document discussing Plaintiffs’

application to any undergraduate institution is relevant to market definition, because the fact that

a Plaintiff has applied to those schools is evidence that they are substitutes for one another.

Responsive documents also may be relevant to Plaintiffs’ claims about the competitiveness of

Defendants’ financial aid packages (e.g., a document discussing the role played by financial aid in

a Plaintiff’s college application process). They likewise are relevant to Defendants’ statute of

limitations defense, i.e., what a Plaintiff knew about Defendants’ alleged conduct and when she

knew it. For example, if a Plaintiff has documents showing that, at the time she applied for college,

she knew facts about the alleged wrongdoing or claimed overcharges, those would support

Defendants’ statute of limitations defense.

       C.      Request No. 3 (Applications for Financial Aid and Supporting Documents)

       This case is about financial aid. Plaintiffs claim that Defendants conspired to “reduce the

amount of financial aid paid to Class Members.” SAC ¶ 265. Yet Plaintiffs have refused to

produce the documents they used to complete their financial aid applications, such as tax forms

and records of assets. This is core discovery that Plaintiffs could produce with minimal burden.

       The details underlying Plaintiffs’ financial aid applications are relevant, at a minimum, to

class certification, injury, and damages.     For instance, as described above with respect to

Defendants’ Interrogatory 2, this information is essential for testing any “but-for” alternative

methodology that Plaintiffs contend Defendants should have used to calculate financial aid awards,

as well as the resulting amounts. The documents also could reveal that a Plaintiff was not entitled


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to financial aid at all – and thus was not injured – or that she was owed a smaller amount than she

claims. Defendants also should be able to confirm the accuracy of the information included in

Plaintiffs’ financial aid applications.

        D.      Request No. 5 (Third-Party Scholarships and Financial Aid)

        Plaintiffs refuse to produce any documents in response to this request, which seeks

materials about the financial aid they received from Defendants and other sources. This discovery

is proper for the same reasons discussed above with respect to Interrogatories 1 and 2. That

Defendants may already have some of this information is not a valid basis to resist this discovery.

Additionally, federal regulations require universities to consider information about third-party aid

when calculating financial need, making the information necessary to determine the amount of

financial aid a Plaintiff was due. See 34 CFR § 673.5(a)-(c). The discovery is also relevant to

other issues, such as Defendants’ mitigation defense and the accuracy of Plaintiffs’ submissions.

Finally, Request 5 is limited to “documents sufficient to show,” so Plaintiffs face, at most, a minor

burden to provide responsive documents. See Aptargroup, Inc. v. 3M Co., 2018 U.S. Dist. LEXIS

240450, at *9 (N.D. Ill. May 25, 2018) (limiting production to “documents sufficient to show”

“minimize[s]” burden).

        E.      Request No. 6 (Financial Aid Declined)

        Request 6 asks Plaintiffs for “documents sufficient to show” any financial aid they

declined. Such documents are relevant to the competitiveness of the financial aid packages that

Defendants offered (e.g., showing Defendants offered superior aid packages) and Plaintiffs’

reasons for choosing a particular university (e.g., if they turned down more money from another

school to attend a Defendant institution). The documents also are relevant to Defendants’

mitigation defenses. And it would not be burdensome for Plaintiffs to provide this information.




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         F.     Request No. 11 (Plaintiffs’ Involvement in Litigation)

         How a plaintiff became involved in a putative class action is relevant to her adequacy as a

class representative. See Susman v. Lincoln Am. Corp., 561 F.2d 86, 95 (7th Cir. 1977) (affirming

denial of class certification due to relationships between plaintiffs and class counsel); Davis v.

Westgate Planet Hollywood Las Vegas, LLC, 2011 U.S. Dist. LEXIS 1258, at *15-16 (D. Nev.

Jan. 3, 2011) (ordering discovery about how opt-in Plaintiffs “became involved in the case”);

Sipper v. Cap. One Bank, 2002 U.S. Dist. LEXIS 3881, at *10 (C.D. Cal. Feb. 28, 2002) (refusing

to certify class because of plaintiff’s relationship with counsel).

         G.     Request No. 12 (Engagement Letters, Fee Arrangements)

         This request seeks documents about the terms of Plaintiffs’ engagement of counsel, the

persons responsible for litigation costs, and Plaintiffs’ share of any damages. Plaintiffs have

refused to produce any responsive documents. Such materials are relevant for a number of reasons,

including whether Plaintiffs can adequately represent the putative class and damages. See Epstein

v. Am. Rsrv. Corp., 1985 U.S. Dist. LEXIS 15842, at *7 (N.D. Ill. Sept. 18, 1985) (“Fee

arrangements are relevant to the ability of named plaintiffs to protect the interest of potential class

members and hence are a proper subject for discovery.”); see also Derrick Virgne v. C.R. Eng.,

2020 U.S. Dist. LEXIS 260819, at *5-6 (S.D. Ind. Feb. 20, 2020) (engagement agreement “is

relevant to the issue of adequacy of class representation”); Boscoe Chung v. Lamb, , 2018 U.S.

Dist. LEXIS 227229, at *8 (D. Colo. May 30, 2018) (compelling production of engagement letter

as relevant to damages).5 These documents “are not ordinarily subject to the attorney-client



5
  See also Zamora v. GC Servs., LP, 2016 U.S. Dist. LEXIS 205636, at *5 (W.D. Tex. Aug. 19, 2016)
(compelling plaintiff to produce “engagement agreement with your attorneys and any documents regarding
any and all payment for their services”); Jones v. Cummings Bros. Truck Repair, 2008 U.S. Dist. LEXIS
29419, at *1 (S.D. Fla. Apr. 10, 2008) (“The general rule is that fee arrangements are discoverable within
certain prescribed boundaries.”); Renner v. Chase Manhattan Bank, 2001 U.S. Dist. LEXIS 17920, at *5


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privilege.” Epstein, 1985 U.S. Dist. LEXIS 15842, at *7; see also Boscoe, 2018 U.S. Dist. LEXIS

227229, at *7 (privilege does not apply to engagement letter).

        H.      Request No. 18 (Loan Modification); Request No. 26 (Loan Payment History)

        Many students cover all or part of their college costs with loans.6 Plaintiffs presumably

are seeking damages for the amounts of those loans and any interest paid, making documents about

those payments a legitimate topic for discovery. Additionally, if Plaintiffs never made payments

on their loans or the loans were modified or forgiven, that should reduce their damages and could

eliminate their injuries altogether. It also could make a Plaintiff an inadequate class representative.

        Plaintiffs have not agreed to produce any documents in response to these requests (even

though one asks only for documents “sufficient to show”). They should not be able to avoid

discovery at this stage by arguing they are the only direct purchasers, which Defendants dispute.

        I.      Request No. 19 (Satisfaction with Institution and Value of Education)

        Plaintiffs’ complaint treats an undergraduate education like an undifferentiated

commodity, as if students select a college based solely on price. That view of the world, however,

is contrary to the experience of untold numbers of college applicants, who spend months and even

years trying to decide which institution is the perfect match for them – academically, socially,

culturally, spiritually, and economically (including post-graduation education and employment

opportunities). For many students, their college choice is one of the most important decisions they

will ever make, and they may be willing to pay more to attend their preferred college. Once at

college, students continue to evaluate whether a school is right for them, and many consider

whether to transfer. Even after graduation, alumni reflect on their time at college and what made



(S.D.N.Y. Nov. 1, 2001) (“Federal courts uniformly allow the identity of the client and matters regarding
fee arrangements to be discovered . . . .”).
6
  Some Defendants award need-based aid in the form of grants, a type of competition between universities.


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it special or how it could have been improved.

       How Plaintiffs view their undergraduate experience and the value of their education bear

on whether one university is a substitute for another, which is relevant to market definition. See

Sharif Pharmacy, 950 F.3d at 918 (product market includes a product and its substitutes). Indeed,

economic utility – the satisfaction someone receives from a product – is a key economic aspect of

a product. Defendants thus seek discovery about these topics.

       J.      Request No. 20 (Social Media Usernames)

       This request imposes almost no burden; it asks only that Plaintiffs produce documents

“sufficient to show” the usernames and email addresses they use for social media (not passwords),

which Defendants can use to investigate whether Plaintiffs have made relevant social media

statements. Plaintiffs have refused to produce any information about how they use social media,

but they notably have not denied that their social media accounts include relevant communications.

       K.      Request No. 21 (Social Media Posts About a Plaintiff’s Institution)

       Many people, especially college students, use social media to communicate, often in lieu

of other forms of communication. For this reason, Defendants asked Plaintiffs for their social

media communications and posts about the institutions they attended. Those posts could include

information about a host of relevant topics, such as the financial aid packages they received from

Defendants and how they compared to other aid offers, the reasons they attended an institution,

and Defendants’ statute of limitations defense. Plaintiffs, after initially agreeing to produce some

subset of responsive documents, changed their position and now refuse to produce anything.

       L.      Request No. 24 (Tuition and Other Payments)

       Plaintiffs claim to have overpaid for their undergraduate tuition and other costs of

attendance, such as room and board. SAC ¶¶ 5, 238. This request seeks only “documents

sufficient to show” such payments, including payments on Plaintiffs’ behalf. Plaintiffs refuse to


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produce documents sufficient to show payments on their behalf. If Plaintiffs are claiming injury

and damages based on those payments, however, those payments are fundamental to the issues in

this case. Additionally, as described above, third-party sources of aid are relevant to calculating a

Plaintiff’s Expected Family Contribution, which bears on Plaintiffs’ “but-for” world. Among

other things, the requested documents could reveal third-party funding sources that need to be

included in those calculations. They also could disprove Plaintiffs claim to be direct purchasers.

       M.      Request No. 25 (Loan Agreements)

       Plaintiffs have agreed to produce documents “that embody a student loan agreement, or

modifications thereto.”    They have declined to produce other documents about those loan

agreements. Documents about a student’s loans, such as how different loan offers compare or how

they factored into a student’s college decision, are relevant to whether Defendants colluded,

competition among universities, Plaintiffs’ but-for world, and damages.

                                         CONCLUSION

       For the foregoing reasons, the Court should grant Defendants’ motion to compel.




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Dated: January 13, 2023                      Respectfully submitted,

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